
Grises, J.
delivered the opinion of the court.
The plaintiff in error and one Susannah Greenwood, were indicted in the Overton circuit court for open and notorious lewdness. The defendants were found guilty by the jury, and Susannah Greenwood was fined ten cents and James Peak was fined fifty dollars, and ordered to be imprisoned four months, from which judgment he appeals to this court.
1. It is insisted for the plaintiff in error, that the proof is too vague and inconclusive to authorise a verdict of guilty in this case. We are of opinion that there is no reason for interfering with the verdict in this case. It is in proof that the woman is living on Peak’s land, near to whom he has a mill and still house, and about three miles from his residence. She has had six children, the oldest of which is nine or ten years old, and Peak has frequently admitted that this child was his. After this child was born, Peak (who had lost his first wife) married, and this woman sued him for breach of a marriage contract. He compromised with her, and gave her the place .she lived on; Peak continued to be much at his mill and still house, and was often at the house of this woman, and she continued to have children, the youngest of whom was not more than-six months old at the trial of this cause. These children have all a strong resemblance of each other, and several witnesses say no other man has resorted to her house- except the defendant *100Peak. It is also in proof, that Peak keeps whiskey to sell at her house, and that she sells it for him. He has woo'd hauled for her; furnishing her with pork, and she gets meal from his mill. His negro woman lives with and cooks for this woman; and when she is confined, his negro, riding his horse, goes for the midwife; and the next morning Peak himself goes into the house where the sick woman and midwife were; and his negroes were employed fixing the chimney of the woman’s house. We think all these facts could hardly concur, and yet Peak have nothing to do in the production of these children; especially as no other man resorted to the house of the woman, on whom the slightest suspicion rests, of being father to any of the children.
We think, therefore, the jury were warranted in finding the defendant guilty.
2. But it is said the punishment adjudged by the circuit court is excessively severe. We do not think so.
It is in proof that Peak is a rich man. Assuming that he is guilty, as the jury have found him, we think he has been guilty of such a violation of decency and public morals as calls for the severest infliction, the law, in such cases, authorises. That he is a rich man, only aggravates his guilt, as it renders his offence more notorious and of greater evil example. We therefore affirm the judgment.
